Case:18-03946-MCF7 Doc#:32 Filed:01/04/19 Entered:01/04/19 13:35:35   Desc: Main
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Case:18-03946-MCF7 Doc#:32 Filed:01/04/19 Entered:01/04/19 13:35:35   Desc: Main
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Case:18-03946-MCF7 Doc#:32 Filed:01/04/19 Entered:01/04/19 13:35:35   Desc: Main
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Case:18-03946-MCF7 Doc#:32 Filed:01/04/19 Entered:01/04/19 13:35:35   Desc: Main
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Case:18-03946-MCF7 Doc#:32 Filed:01/04/19 Entered:01/04/19 13:35:35   Desc: Main
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Case:18-03946-MCF7 Doc#:32 Filed:01/04/19 Entered:01/04/19 13:35:35   Desc: Main
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Case:18-03946-MCF7 Doc#:32 Filed:01/04/19 Entered:01/04/19 13:35:35   Desc: Main
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Case:18-03946-MCF7 Doc#:32 Filed:01/04/19 Entered:01/04/19 13:35:35   Desc: Main
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Case:18-03946-MCF7 Doc#:32 Filed:01/04/19 Entered:01/04/19 13:35:35   Desc: Main
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Case:18-03946-MCF7 Doc#:32 Filed:01/04/19 Entered:01/04/19 13:35:35   Desc: Main
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Case:18-03946-MCF7 Doc#:32 Filed:01/04/19 Entered:01/04/19 13:35:35   Desc: Main
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Case:18-03946-MCF7 Doc#:32 Filed:01/04/19 Entered:01/04/19 13:35:35   Desc: Main
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Case:18-03946-MCF7 Doc#:32 Filed:01/04/19 Entered:01/04/19 13:35:35   Desc: Main
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Case:18-03946-MCF7 Doc#:32 Filed:01/04/19 Entered:01/04/19 13:35:35   Desc: Main
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Case:18-03946-MCF7 Doc#:32 Filed:01/04/19 Entered:01/04/19 13:35:35   Desc: Main
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Case:18-03946-MCF7 Doc#:32 Filed:01/04/19 Entered:01/04/19 13:35:35   Desc: Main
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Case:18-03946-MCF7 Doc#:32 Filed:01/04/19 Entered:01/04/19 13:35:35   Desc: Main
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Case:18-03946-MCF7 Doc#:32 Filed:01/04/19 Entered:01/04/19 13:35:35   Desc: Main
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Case:18-03946-MCF7 Doc#:32 Filed:01/04/19 Entered:01/04/19 13:35:35   Desc: Main
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